         10-11549-scc        Doc 19     Filed 07/23/10 Entered 07/24/10 00:20:36                 Imaged
                                      Certificate of Service Pg 1 of 3
                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK
                                              One Bowling Green
                                           New York, NY 10004−1408


IN RE: Lucio Celli                                           CASE NO.: 10−11549−scc

Social Security/Taxpayer ID/Employer ID/Other Nos.:          CHAPTER: 13
xxx−xx−1535




                                         NOTICE OF DISMISSAL



An order of dismissal was entered by the Honorable Shelley C. Chapman in this Chapter 13 case.

Lucio Celli was dismissed from the case on July 20, 2010 .




Dated: July 20, 2010                                          Vito Genna
                                                              Clerk of the Court
            10-11549-scc       Doc 19     Filed 07/23/10 Entered 07/24/10 00:20:36            Imaged
                                        Certificate of Service Pg 2 of 3
                         CERTIFICATE OF NOTICE
District/off: 0208-1          User: tmercado               Page 1 of 2                    Date Rcvd: Jul 21, 2010
Case: 10-11549                Form ID: 131                 Total Noticed: 46

The following entities were noticed by first class mail on Jul 23, 2010.
db           +Lucio Celli,    2743 Seymore Ave.,    Bronx, NY 10469-5523
smg           N.Y. State Unemployment Insurance Fund,     P.O. Box 551,    Albany, NY 12201-0551
smg           New York City Dept. Of Finance,     345 Adams Street, 3rd Floor,
               Attn: Legal Affairs - Devora Cohn,     Brooklyn, NY 11201-3719
smg           New York State Tax Commission,     Bankruptcy/Special Procedures Section,    P.O. Box 5300,
               Albany, NY 12205-0300
smg           United States Attorney,     One St. Andrew’s Plaza,    Claims Unit - Room 417,
               New York, NY 10007-1701
ust          +United States Trustee,     33 Whitehall Street,    21st Floor,   New York, NY 10004-2122
5135155      +BALLY TOTAL FITNESS,    12440 E IMPERIAL HWY STE,     NORWALK, CA 90650-3178
5135154      +BALLY TOTAL FITNESS,    12440 E IMPERIAL HWY #30,     NORWALK, CA 90650-3177
5135158      +CBNA,   1000 TECHNOLOGY DR,     O FALLON, MO 63368-2239
5135159      +CBNA,   PO BOX 769006,     SAN ANTONIO, TX 78245-9006
5135177      +CITIBANK,    PO BOX 22828,    ROCHESTER, NY 14692-2828
5175117       Chase Bank USA, N.A.,    Resurgent Capital Services,     PO Box 10587,   Greenville, SC 29603-0587
5229150      +Citibank South Dakota NA,     Payment Center,    4740 121st St,   Urbandale, IA 50323-2402
5135197     ++HSBC BANK,    ATTN BANKRUPTCY DEPARTMENT,     PO BOX 5213,   CAROL STREAM IL 60197-5213
             (address filed with court: HSBC/CASML,      PO BOX 15524,    WILMINGTON, DE 19850)
5195163      +PRA Receivables Management, LLC,     As Agent Of Portfolio Recovery Assocs.,    POB 41067,
               Norfolk VA 23541-1067
5135204      +STPC/CBSD,    PO BOX 6497,    SIOUX FALLS, SD 57117-6497
The following entities were noticed by electronic transmission on Jul 21, 2010.
5135153      +EDI: AMEREXPR.COM Jul 21 2010 15:53:00      AMEX,    PO BOX 297871,
               FORT LAUDERDALE, FL 33329-7871
5135156      +EDI: BANKAMER2.COM Jul 21 2010 15:53:00      BANK OF AMERICA,     PO BOX 17054,
               WILMINGTON, DE 19850-7054
5135168      +EDI: CHASE.COM Jul 21 2010 15:53:00      CHASE,    800 BROOKSEDGE BLV,    WESTERVILLE, OH 43081-2822
5135163      +EDI: CHASE.COM Jul 21 2010 15:53:00      CHASE,    PO BOX 901039,    FORT WORTH, TX 76101-2039
5135160      +EDI: CHASE.COM Jul 21 2010 15:53:00      CHASE,    PO BOX 15298,    WILMINGTON, DE 19850-5298
5135167      +EDI: CHASE.COM Jul 21 2010 15:53:00      CHASE,    PO BOX 71,    PHOENIX, AZ 85001-0071
5135171      +EDI: CHASE.COM Jul 21 2010 15:53:00      CHASE NA,    800 BROOKSEDGE BLV,
               WESTERVILLE, OH 43081-2822
5135170      +EDI: CHASE.COM Jul 21 2010 15:53:00      CHASE NA,    4915 INDEPENDENCE PARKWAY,
               TAMPA, FL 33634-7518
5135173       EDI: CITICORP.COM Jul 21 2010 15:53:00      CITI,    P.O. BOX 6500,    SIOUX FALLS, SD 57117-6500
5135172      +EDI: CITICORP.COM Jul 21 2010 15:53:00      CITI,    PO BOX 6241,    SIOUX FALLS, SD 57117-6241
5135178      +EDI: DISCOVER.COM Jul 21 2010 15:53:00      DISCOVER FIN SVCS LLC,     PO BOX 15316,
               WILMINGTON, DE 19850-5316
5140052       EDI: DISCOVER.COM Jul 21 2010 15:53:00      Discover Bank,     Dfs Services LLC,   PO Box 3025,
               New Albany, Ohio 43054-3025
5135180      +EDI: CHASE.COM Jul 21 2010 15:53:00      FIRST USA BANK N A,     1001 JEFFERSON PLAZA,
               WILMINGTON, DE 19801-1493
5238033      +EDI: BANKAMER.COM Jul 21 2010 15:53:00      Fia Card Services, NA As Successor In Interest to,
               Bank of America NA and Mbna America Bank,    1000 Samoset Drive,     DE5-023-03-03,
               Newark, DE 19713-6000
5135182      +EDI: GMACFS.COM Jul 21 2010 15:53:00      G M A C,    PO BOX 105677,    ATLANTA, GA 30348-5677
5135183      +EDI: RMSC.COM Jul 21 2010 15:53:00      GEMB/GAP,    PO BOX 981400,    EL PASO, TX 79998-1400
5135184      +EDI: RMSC.COM Jul 21 2010 15:53:00      GEMB/JCP,    PO BOX 984100,    EL PASO, TX 79998-4100
5135186      +EDI: RMSC.COM Jul 21 2010 15:53:00      GEMB/L&T,    PO BOX 981400,    EL PASO, TX 79998-1400
5135187      +EDI: RMSC.COM Jul 21 2010 15:53:00      GEMB/PC RICHARD,    PO BOX 981439,    EL PASO, TX 79998-1439
5135188      +EDI: RMSC.COM Jul 21 2010 15:53:00      GEMB/PC RICHARDS,     PO BOX 981439,
               EL PASO, TX 79998-1439
5135189      +EDI: RMSC.COM Jul 21 2010 15:53:00      GEMB/WHITEHALL,    PO BOX 981439,    EL PASO, TX 79998-1439
5135190      +EDI: HFC.COM Jul 21 2010 15:53:00      HSBC BANK,    PO BOX 5253,    CAROL STREAM, IL 60197-5253
5135196      +EDI: HFC.COM Jul 21 2010 15:53:00      HSBC/BSBUY,    PO BOX 15519,    WILMINGTON, DE 19850-5519
5135198      +EDI: HFC.COM Jul 21 2010 15:53:00      HSBC/NEIMN,    PO BOX 15221,    WILMINGTON, DE 19850-5221
5135199      +EDI: HFC.COM Jul 21 2010 15:53:00      HSBC/RS,    90 CHRISTIANA RD,    NEW CASTLE, DE 19720-3118
5217782       EDI: RESURGENT.COM Jul 21 2010 15:53:00      LVNV Funding LLC,     c/o Resurgent Capital Services,
               P.O. Box 10587,   Greenville, SC 29603-0587
5135201      +E-mail/Text: bnc@nordstrom.com                            NORDSTROMFSB,    PO BOX 13589,
               SCOTTSDALE, AZ 85267-3589
5135202      +EDI: SEARS.COM Jul 21 2010 15:53:00      SEARS/CBSD,    PO BOX 6189,    SIOUX FALLS, SD 57117-6189
5135205      +EDI: WFFC.COM Jul 21 2010 15:53:00      WELLS FARGO,    PO BOX 5156,    SIOUX FALLS, SD 57117-5156
5135206      +EDI: WFNNB.COM Jul 21 2010 15:53:00      WFNNB/EXPRESS,    4590 E BROAD ST,
               COLUMBUS, OH 43213-1301
                                                                                               TOTAL: 30
           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
5135157*     +BANK OF AMERICA,    PO BOX 17054,    WILMINGTON, DE 19850-7054
5135161*     +CHASE,    PO BOX 15298,    WILMINGTON, DE 19850-5298
5135162*     +CHASE,    PO BOX 15298,    WILMINGTON, DE 19850-5298
5135164*     +CHASE,    PO BOX 15298,    WILMINGTON, DE 19850-5298
5135165*     +CHASE,    PO BOX 15298,    WILMINGTON, DE 19850-5298
5135166*     +CHASE,    PO BOX 15298,    WILMINGTON, DE 19850-5298
5135169*     +CHASE,    PO BOX 15298,    WILMINGTON, DE 19850-5298
5135174*     +CITI,   PO BOX 6241,     SIOUX FALLS, SD 57117-6241
5135175*     +CITI,   PO BOX 6241,     SIOUX FALLS, SD 57117-6241
5135176*     +CITI,   PO BOX 6241,     SIOUX FALLS, SD 57117-6241
5135179*     +DISCOVER FIN SVCS LLC,     PO BOX 15316,   WILMINGTON, DE 19850-5316
5135181*     +FIRST USA BANK N A,     1001 JEFFERSON PLAZA,   WILMINGTON, DE 19801-1493
5135185*     +GEMB/JCP,    PO BOX 984100,    EL PASO, TX 79998-4100
5135191*     +HSBC BANK,    PO BOX 5253,    CAROL STREAM, IL 60197-5253
                10-11549-scc           Doc 19      Filed 07/23/10 Entered 07/24/10 00:20:36                          Imaged
                                                 Certificate of Service Pg 3 of 3


 District/off: 0208-1                  User: tmercado                     Page 2 of 2                          Date Rcvd: Jul 21, 2010
 Case: 10-11549                        Form ID: 131                       Total Noticed: 46

               ***** BYPASSED RECIPIENTS (continued) *****
 5135192*        +HSBC BANK,   PO BOX 5253,   CAROL STREAM, IL 60197-5253
 5135193*        +HSBC BANK,   PO BOX 5253,   CAROL STREAM, IL 60197-5253
 5135194*        +HSBC BANK,   PO BOX 5253,   CAROL STREAM, IL 60197-5253
 5135195*        +HSBC BANK,   PO BOX 5253,   CAROL STREAM, IL 60197-5253
 5135203*        +SEARS/CBSD,   PO BOX 6189,    SIOUX FALLS, SD 57117-6189
 5135200       ##+LORD&TAYLOR,   P.O. B   1628,    MARYLAND HEIGH, MO 63043-0628
                                                                                                                    TOTALS: 0, * 19, ## 1
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.
 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).
 Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
 will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
 debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 23, 2010                                       Signature:
